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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )              CASE NO. 8:07CR32
                                           )
             Plaintiff,                    )
                                           )
             vs.                           )                    ORDER
                                           )
ENOCH PITTMAN,                             )
                                           )
             Defendant.                    )

      This matter is before the Court on the Defendant’s motion (Filing No. 79) for an

evidentiary hearing to “prove that the government agreed, after a proffer, to bring the

Defendant back for re-sentencing.”

      IT IS ORDERED that the Defendant’s motion for an evidentiary hearing (Filing No.

79) is denied.

      DATED this 13th day of October, 2009.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               United States District Judge
